Exhibit 5
                                        Exhibit 5




                                                    Thank you for trusting us to insure your property.


P.O. Box 292547, Tampa, FL 33687-2547
                                                    Policy Number: SLAD1231984-03

                                                    Dear Valued Policyholder:
                                                    Thank you for joining the Safepoint Family.

                                                    Enclosed you will find your policy and Declarations Page (policy
                                                    overview document).

                                                    Please review this material carefully.




   GLENN WASHINGTON
   1721 NUNEZ ST
   NEW ORLEANS ,LA 70114




        Mailer Page                                                                 Ren: 03 End: 0002
Exhibit 5
                                  Exhibit 5




                   Safepoint Insurance Company
                             A Stock Company
                              P.O. Box 292547
                          Tampa, FL 33687-2547
                          Claims: 1-855-252-4615
                     Customer Service: 1-855-243-9740



YOUR DWELLING POLICY DOES NOT PROVIDE COVERAGE FOR
DAMAGE TO YOUR PROPERTY CAUSED BY FLOOD. YOUR AGENT CAN
HELP YOU PROCURE A SEPARATE FLOOD POLICY THROUGH THE
NATIONAL FLOOD INSURANCE PROGRAM.


SIC DWJ LA 01 16
                                             Exhibit 5




This Policy Jacket with the Policy Form, Declarations Page, and Endorsements, if any, issued to
form a part thereof, completes the policy as numbered on the Declarations Page.




POLICY PROVISION: All premiums for this insurance shall be computed in accordance with
Safepoint Insurance Company’s rules, forms, rating plans, premiums and minimum premiums
applicable to the insurance afforded herein which are in effect at the inception of the insurance
and, each anniversary thereof, including the date of interim changes.

IN WITNESS WHEREOF, Safepoint Insurance Company has caused this instrument to be signed
by its President.




David Flitman
President, Safepoint Insurance Company




SIC DWJ LA 01 16
                                                                Exhibit 5
                                                                                     Important Phone Numbers:
                                                                                     Your Agent:         504-943-0512
                                                                                     Customer Service:   1-855-243-9740
                                                                                     Claims Reporting:        1-855- 252-4615


Safepoint Insurance Company
P.O. Box 292547
TAMPA, FL 33687-2547
POLICY NUMBER: SLAD1231984-03
Previous Policy Number:

                                DWELLING DW3 POLICY DECLARATIONS
                                                                                  Endorsement
                                                                                  Policy Effective Date: 09-21-2020
 Insured Name and Mailing Address:                                                Policy Expiration Date:09-21-2021
 GLENN WASHINGTON                                                                 12:01 AM Standard Time at Residence Premises
 1721 NUNEZ ST                                                                    YOUR SAFEPOINT AGENT IS:
 NEW ORLEANS ,LA 70114                                                            Value Insurance Agency LLC 101939
                                                                                  4111 Franklin Ave. Suite A
                                                                                  New Orleans, LA 70122
                                                                                  504-943-0512
 Insured Location Covered by the Policy:
 1725 NUNEZ ST 1725 A-C NUNEZ ST
 NEW ORLEANS, LA 70114-5816
 PARISH: JEFFERSON

 TOTAL ANNUAL POLICY PREMIUM                                                                         $3,041
 COVERAGE IS PROVIDED WHERE A PREMIUM OR LIMIT OF LIABILITY IS SHOWN FOR THE COVERAGE
 SECTION I – PROPERTY COVERAGE                             Limit                                     Premium
 Coverage – A – (Dwelling)                                 $293,000                                  $2,699
 Coverage – C – (Personal Property)                        $11,700                                   $216
 Coverage – D – (Fair Rental Value)                        $29,300                                   INCLUDED

 SECTION I – DEDUCTIBLES In case of a loss, we only cover that part of the loss over the deductible stated:
 All Other Perils Deductible - $5,000
 Hurricane Deductible - $5,860 (2% of Coverage A)
 SECTION II – LIABILITY COVERAGE                           Limit                                     Premium
 Coverage – L – (Personal Liability)                       $0                                        NO COVERAGE
 Coverage – M – (Medical Payments)                         $0                                        NO COVERAGE




Print Date: 3/2/2021                                            Page 1 of 4                               SIC LA DWDEC1 01 16
                                                                                                              Ren: 03 End: 0002
                                                             Exhibit 5
                                                                                      Important Phone Numbers:
                                                                                      Your Agent:         504-943-0512
                                                                                      Customer Service:   1-855-243-9740
                                                                                      Claims Reporting:         1-855- 252-4615


Safepoint Insurance Company
P.O. Box 292547
TAMPA, FL 33687-2547
POLICY NUMBER: SLAD1231984-03
Previous Policy Number:


 CREDIT AND SURCHARGES

 Calendar Year Named Storm Deductible Credit Included
 All Other Perils Credit Included




 POLICY FEES                                                                                            $126
 Managing General Agency Fee                                                                            $25
 Inspection Fee                                                                                         $25
 LA Fair Plan Assessment Fee                                                                            $76

 OPTIONAL COVERAGES                                        Limit                                        Premium
 Extended Coverage                                                                                      Included
 Vandalism and Malicious Mischief                                                                       Included
 DWG-E290 07 04 Limited Fungi Wet or Dry Rot or Bacteria   $10,000                                      Included
   Coverage – Louisiana

 Policy Forms and Endorsements:
 DWG_E60_01_10                           Hurricane Deductible
 SIC_0601_10_15                          5,000 Deductible Clause
 DWG_3_01_93                             Louisiana Dwelling Property Basic Form DWG-3
 DWG_E100_10_18                          Louisiana Amendatory Endorsement
 DWG_E290_07_04                          Limited Fungi Wet or Dry Rot or Bacteria Coverage – Louisiana
 SIC_S003_03_ 17                         LADOI Dwelling Fire Insurance Policy Coverage Disclosure Summary
 SIC_DP_SUA_12_17                        Small Unmanned Aircraft Systems Limited Property Coverage
 Rating Information
 Construction:              Frame                                  Hurricane Zone:             Zone A
 Year Built:                1997                                   Roof Shape:                 Gable
 Occupied by:               Tenant                                 Opening Protection:         None
 Usage Type:                Rented                                 Exclude Wind Coverage:      No
 Territory:                 361                                    Number of Families:         4
 Protection Class:          02
 Automatic Sprinklers:      NULL
 BCEG Grade:                99




Print Date: 3/2/2021                                         Page 2 of 4                                       SIC LA DWDEC1 01 16
                                                                                                                   Ren: 03 End: 0002
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                                                         Important Phone Numbers:
                                                         Your Agent:         504-943-0512
                                                         Customer Service:   1-855-243-9740
                                                         Claims Reporting:    1-855- 252-4615


Safepoint Insurance Company
P.O. Box 292547
TAMPA, FL 33687-2547
POLICY NUMBER: SLAD1231984-03
Previous Policy Number:

        First Mortgagee
        WELLS FARGO BANK N.A. #936 ISAOA
        0542013867
        PO Box 100515
        Florence, SC 29502




Print Date: 3/2/2021                       Page 3 of 4                       SIC LA DWDEC1 01 16
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                                                           Exhibit 5
                                                                                 Important Phone Numbers:
                                                                                 Your Agent:         504-943-0512
                                                                                 Customer Service:   1-855-243-9740
                                                                                 Claims Reporting:     1-855- 252-4615


Safepoint Insurance Company
P.O. Box 292547
TAMPA, FL 33687-2547
POLICY NUMBER: SLAD1231984-03
Previous Policy Number:



 Flood coverage is not provided by this policy.



 These Declarations together with the common policy conditions, coverage declarations, coverage Form(s), and      form(s)
 and endorsements, if any, issued, complete the above numbered policy.



 Property Coverage Limit may increase at renewal due to inflation factor determined by MSB index of construction cost to
 maintain insurance to the approximate replacement cost of your home.




 Authorized Countersignature




Print Date: 3/2/2021                                       Page 4 of 4                               SIC LA DWDEC1 01 16
                                                                                                         Ren: 03 End: 0002
                                                              Exhibit 5
                                                                       LOUISIANA DWG-E60
                                                                                 Ed. 01 10
               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     HURRICANE DEDUCTIBLE
                                                           SCHEDULE

Described Location:                                                            Hurricane Deductible Percentage Amount:



Entry may be left blank if shown elsewhere in this policy for this coverage.

A. Definitions                                                               2. Except as provided in Paragraph D. of this
    The following definition is added for the                                   endorsement, no other deductible applies to
    deductible provided by this endorsement:                                    loss caused by the peril of windstorm or hail
                                                                                during the period described in Paragraph
    “Hurricane” means a storm system that has                                   B.2. of this endorsement.
    been declared a hurricane by the National
    Hurricane Center of the National Weather                                 3. Refer to the policy Declarations for the
    Service.                                                                    deductible that applies to loss caused by the
                                                                                peril of windstorm or hail other than during
B. Applicable Deductible                                                        the period described in Paragraph B.2. of
    The applicable hurricane deductible:                                        this endorsement.
    1. The dollar amount determined by multiplying                        D. Calendar Year Hurricane Deductible
       the percentage shown as the Hurricane                                 The following provisions apply only if the
       Deductible in the Schedule by:                                        dwelling on the Described Location, shown in
        a. The Coverage A limit of liability for                             the Declarations, is a one- or two-family owner-
           building and contents coverage or                                 occupied dwelling:
           building coverage only; or                                        1. Subject to Paragraph D.2. of this
        b. The Coverage C limit of liability for                                endorsement, the applicable hurricane
           contents coverage only.                                              deductible described in Paragraph B. of this
    2. Shall apply during the period:                                           endorsement is a calendar year deductible
                                                                                and applies to all covered windstorm or hail
        a. Beginning at the time a hurricane watch                              losses:
           or hurricane warning is issued for any
           part of the state of Louisiana by the                                  a. To a covered property; and
           National Hurricane Center of the                                       b. Resulting from one or more “hurricanes”
           National Weather Service;                                                 during the same calendar year.
        b. Continuing for the time period in which                           2. With respect to a covered windstorm or hail
           the hurricane conditions exist anywhere                              loss:
           in the state; and                                                      a. Resulting from the first “hurricane”
        c. Ending     24   hours    following   the                                  during a calendar year, we will pay only
           termination of the last hurricane watch                                   that part of the total of all loss payable
           or hurricane warning for any part of the                                  that exceeds the applicable hurricane
           state of Louisiana by the National                                        deductible described in Paragraph B. of
           Hurricane Center of the National                                          this endorsement.
           Weather Service.                                                       b. Resulting from the second, and each
C. Standard Hurricane Deductible                                                     subsequent, “hurricane” during the
    1. With respect to the peril of windstorm or hail,                               same calendar year, we will pay only
       we will pay only that part of the total of all                                that part of the total of all loss payable
       loss payable that exceeds the applicable                                      that exceeds the greater of:
       hurricane deductible described in Paragraph                                     (1) The remaining dollar amount of the
       B. of this endorsement.                                                             applicable hurricane       deductible
                                                                                           described in Paragraph B. of this
                                                                                           endorsement for that calendar year;
                                                                                           or
                                                                                       (2) The deductible that applies to all
                                                                                           perils other than windstorm or hail.
DWG-E60 01 10                      Copyright, Property Insurance Association of Louisiana, 2010                    Page 1 of 2
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                                                          Exhibit 5
                                                                                                             LOUISIANA DWG-E60
                                                                                                                       Ed. 01 10
      c. You must maintain receipts or other                                  e. No other deductible applies to loss
         records of all covered windstorm or hail                                caused by the peril of windstorm or hail
         losses, resulting from any “hurricane”,                                 during the period described in
         that are less than the applicable                                       Paragraph B.2. of this endorsement.
         hurricane deductible, and provide us                                 f.   Refer to the policy Declarations for the
         with such receipts or other records as                                    deductible that applies to loss caused by
         often as we reasonable require, so that                                   the peril of windstorm or hail other than
         we may consider the amount of such                                        during the period described in
         losses when adjusting claims resulting                                    Paragraph B.2. of this endorsement.
         from any subsequent “hurricane” during
         the same calendar year.
      d. Paragraph C. of this endorsement does                        All other provisions of this policy apply.
         not apply.                                                   This endorsement forms part of the policy.




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                                                   Exhibit 5
Safepoint Insurance Company                                                                   SIC 0601 10 15



                                      $5,000 SPECIAL LOSS
                                      DEDUCTIBLE CLAUSE
        In consideration of a premium credit, the DEDUCTIBLE conditions in the form made a
        part of this policy are deleted and replaced by the following:
                 Deductible. Any loss other than “Named Storm” covered by this policy is subject
                 to a deductible of $5,000 in any one occurrence, except:
                    a. If more than one dwelling is covered, the deductible shall apply separately
                       to the amount of loss to each dwelling, including property appertaining
                       thereto;
                    b. If you have any other insurance on your dwelling or personal property, the
                       deductible will be apportioned pro rata based on the amount of loss to
                       each compared to the total loss; and
                    c. Deductible is not applicable to additional living expenses or rental value.

        This endorsement must be attached to Change Endorsement when issued after the
        policy is written.




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Exhibit 5
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                                            Exhibit 5                         Dwelling Fire
                                                                              SIC S003 03 17


          IMPORTANT INFORMATION REQUIRED BY THE
            LOUISIANA DEPARTMENT OF INSURANCE
         Dwelling Fire Insurance Policy Coverage Disclosure Summary
                     This form is promulgated pursuant to LSA-R.S. 22:1319.

THIS IS ONLY A SUMMARY OF YOUR COVERAGE AND DOES NOT AMEND,
EXTEND, OR ALTER THE COVERAGES OR ANY OTHER PROVISIONS
CONTAINED IN YOUR POLICY. INSURANCE IS A CONTRACT. THE LANGUAGE IN
YOUR POLICY CONTROLS YOUR LEGAL RIGHTS AND OBLIGATIONS.

      **READ YOUR INSURANCE POLICY FOR COMPLETE POLICY TERMS AND
                             CONDITIONS**

COVERAGE(S) FOR WHICH PREMIUM WAS PAID:
  Coverage A – Dwelling
  Coverage B – Other Structures
  Coverage C – Personal Property
  Coverage D – Fair Rental Value
  Coverage E – Additional Living

DEDUCTIBLES
This policy sets forth certain deductibles that will be applied to claims for damages.
When applicable, a deductible will be subtracted from your total claim and you will be
paid the balance subject to applicable coverage limits.
  •   You may be able to reduce your premium by increasing your deductible. Contact
      your producer (agent) or insurer for details.
 NOTICE: This policy does set forth a separate deductible for covered losses caused by
 Hurricane as defined in the policy.
         Separate Deductible
Examples - Hurricane, Wind or Named Storm Damage.
If applicable, the following illustrates how a separate deductible applying to hurricane,
wind or named storm damage is applied under your policy:
The insurer shall comply with LSA‐R.S. 22:1319 B(3) by selecting either option A or B
below:




SIC S003 03 17                                                                       Page 1 of 2
                                          Exhibit 5                      Dwelling Fire
                                                                         SIC S003 03 17

A. Developing its own standardized example to reflect how a hurricane, wind, or named
   storm damage loss will be adjusted under the policy. The standardized example shall
   set forth a separate loss for each coverage included in the policy for which a premium
   has been paid. The total of all losses combined shall exceed by at least ten percent
   (10%) the applicable deductible(s) so that the example demonstrates a net payment to
   the insured.

B. Utilizing the standardized example prepared by the LDOI if this standardized example
   properly reflects how a separate deductible is applied to a hurricane, wind, or named
   storm damage loss under the policy:

   The following assumes no co-insurance penalty and a 2% hurricane, wind, or named
   storm deductible. The amounts of loss to the damaged property are $50,000 (building)
   and $20,000 (business personal property).

   Limits of insurance on building                                      $ 100,000
   Total amount of building loss                                        $ 50,000
   Less 2% deductible ($100,000 X .02)                                  $ 2,000
   Net payment to insured for building loss                             $ 48,000
   Limits of insurance on the business personal property                $ 50,000
   Total amount of business personal property loss                      $ 20,000
   Less 2% deductible ($50,000 X .02) -                                 $ 1,000
   Net payment to insured for business personal property loss           $ 19,000
   Total net payment to insured for building and business
   personal property loss ($48,000 + $19,000)                           $ 67,000

 TO SEE EXACTLY HOW YOUR SEPARATE HURRICANE WIND OR NAMED
 STORM DEDUCTIBLE WILL APPLY, PLEASE REFER TO YOUR POLICY.

LIMITATIONS OR EXCLUSIONS UNDER THIS POLICY
  FLOOD - Flood damage is not covered, regardless of how caused, when flood is the
  peril that causes the loss. Flood water includes, but is not limited to, storm surge,
  waves, tidal water, overflow of a body of water, whether driven by wind or not.
      Flood Insurance may be available through the National Flood Insurance Program
      (NFIP). NFIP flood insurance may provide coverage for damage to your dwelling or
      building and/or contents subject to the coverage limits and terms of the policy.
      Excess Flood Insurance may be available under a separate policy, from this or
      another insurer, if the amount of the primary flood insurance is not enough to cover
      the value of your property.

      • You may contact your producer (agent) or insurer for more information on the
         NFIP and excess flood insurance.

  MOLD - Damage caused solely by mold is not covered under this policy.

  **FOR ALL OTHER LIMITATIONS OR EXCLUSIONS REFER TO YOUR POLICY
  FOR COMPLETE DETAILS ON TERMS AND PROVISIONS**
SIC S003 03 17                                                                  Page 2 of 2
SafePoint Insurance Company                          Exhibit 5                                  Dwelling Fire
                                                                                                SIC DP SUA 12 17


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



  SMALL UNMANNED AIRCRAFT SYSTEMS LIMITED PROPERTY COVERAGE
Limited coverage under Coverage C will apply to “personal property” and “property damage” to small unmanned
aircraft systems or drones owned or operated by any insured subject to the exclusions and conditions listed in
your policy. Your DWG-3 – Special Form policy is changed as follows:

Under DEFINITIONS
The following is added:
In this policy, small unmanned aircraft system or drone means an aircraft that is not: 1. designed; 2. manufactured;
or 3. modified after manufacture to be controlled directly by a person from within or on the aircraft. If required by
the Federal Aviation Administration, the small unmanned aircraft system or drone must be properly registered and
be operated by a person with a remote pilot in command certification.

Under COVERAGES
Coverage C – Personal Property; Property Not Covered. We do not cover: 3. is deleted and replaced by the
following:
3. Aircraft meaning any contrivance used or designed for flight including any parts whether or not attached to the
air craft including small unmanned aircraft systems and drones as defined above.

We do cover model or hobby aircraft not used or designed to carry people or cargo;

All other provisions of the policy apply.




SIC DP SUA 12 17                                                                                        Page 1 of 1
